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                       UNITED STATES DISTRICT COURT
                             DISTRICT OF IDAHO

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JAMES L. DAYE,                         NO. 1:19-cv-26 WBS
                Plaintiff,             NOTICE OF SCHEDULING CONFERENCE
    v.

NAMPA SCHOOL DISTRICT # 131,

                Defendant.




             This action has been re-assigned to the undersigned

judge.     The court will conduct a scheduling conference for the

purpose of setting deadlines in accordance with Local Rule 16.1
and Federal Rule of Civil Procedure 16.          In accordance with the

time frames established during said scheduling conference, an

order will be entered that will be binding upon the parties in

this proceeding.

             The above-entitled case has been set for a scheduling

conference, at 2:30 p.m. (MDT) on August 5, 2019, in Courtroom

No. 1, 6th Floor, of the James A. McClure Federal Building and

United States Courthouse in Boise, Idaho.          A Joint Litigation
Plan (attached hereto) must be filed fourteen (14) calendar days
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prior to the scheduling conference.      The parties shall include a

statement in their Joint Status Report advising whether they

prefer to appear at a status conference or are satisfied to have

the court issue a Status (Pretrial Scheduling) Order based on

their Joint Status Report.     In appropriate cases, and after

receiving the parties’ Joint Litigation Plan, the court may

issue a Status (Pretrial Scheduling) Order without requiring a

status conference.   Unless the parties have received such an

order prior to the status conference, the parties are required

to attend the status conference as scheduled.

          At least twenty-one (21) calendar days before the

scheduling conference is held, the parties shall confer and

attempt to agree upon a discovery plan, as required by Federal

Rule of Civil Procedure 26(f).     The parties shall discuss the

merits of mediation or other alternative dispute resolution

options with their clients and each other prior to the

Scheduling Conference.    For information on types of mediation or

ADR, contact Emily Donnellan, the court’s Alternate Dispute
Resolution Coordinator, at (208) 334-9545 or

emily_donnellan@LB9.uscourts.gov.

          Concurrently with the service of process, or as soon

thereafter as possible, plaintiff shall serve upon each of the

parties named in the complaint, and upon all parties

subsequently joined, a copy of this Order, and shall file with

the clerk a certificate reflecting such service.        Counsel are

also directed to file with the court any additions, changes,
substitutions or corrections to the listed attorneys on the
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certificate electronic filing and service.

             In the event this action was originally filed in a

state court and was thereafter removed to this court, the

removing party or parties shall immediately following such

removal, serve upon each of the other parties and upon all

parties subsequently joined a copy of this Order, and shall file

with the clerk a certificate reflecting such service.

             Upon filing any motion in this case, counsel shall

contact the undersigned’s courtroom deputy, Karen Kirksey Smith,

at KKirkseySmith@caed.uscourts.gov, to calendar a hearing on the

motion.     Leave of court need not be sought in order to file any

memorandum in excess of the page limits in Idaho Local Rule 7.1

in any non-discovery motions.

Dated:     April 9, 2019
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                                    LITIGATION PLAN

DATE OF SCHEDULING CONFERENCE:                                                               ______

CASE NO:                          NATURE OF SUIT:

CASE NAME:

PARTY SUBMITTING PLAN:
     [ ] Plan has been stipulated to by all parties.
     [ ] Plan has not been stipulated to, but is submitted by:

       ATTORNEY:

       REPRESENTING:

I.     CASE MANAGEMENT TRACK: Indicate the track that best fits your case.
       Designation of a track is not binding but will assist the Court in assessing its workload
       and selecting a trial date and discovery schedule that meets counsel’s needs.

       [ ]      Expedited Track - Cases on this track will typically be set for trial
                approximately 9 to 12 months following the case management conference;
                take 4 days or less to try; and involve limited discovery.

       [ ]      Standard Track - Cases on this track will typically be set for trial
                approximately 12 to 15 months following the case management
                conference; take about 5-10 days to try; and involve typical discovery.
                Most cases fall within this category.

       [ ]      Complex Track - Cases on this track will typically be set for trial
                approximately 15 to 24 months following the case management
                conference; take 10 days or more to try; involve extensive discovery with
                staggered discovery schedules; and have extensive expert testimony.

       [ ]      Legal Track - Cases that involve legal issues likely to be resolved by
                motion rather than trial. There will be little, if any discovery. A motion
                hearing will be set at the case management conference.

2.     ADDENDUM TO LITIGATION PLAN: Attach a joint addendum to this Litigation
       Plan that includes:

       a.       a brief summary of the claims;
       b.       a statement as to the status of service upon all defendants and cross defendants;
       c.       statement as to the possible joinder of additional parties;
       d.       any contemplated amendments to the pleadings;
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     e.       the statutory basis of jurisdiction and venue;
     f.       any proposed modifications of standard pretrial proceedings due to the special
              nature of the action;
     g.       a statement as to whether the case is related to any other case, including any
              matters in bankruptcy
     h.       any other matters discussed in Local Rule 16-240 that may add to the just and
              expeditious disposition of this matter; and
     i.       a statement by any nongovernmental corporate party identifying all of its parent
              and subsidiary corporations and listing any publicly held company that owns 10%
              or more of the party’s stock.

3.   DISCOVERY PLAN:

     a.       Initial Disclosures to be exchanged no later than:

     b.       Plaintiff(s) to identify and disclose expert reports by:

              Defendant(s) to identify and disclose expert reports by:

              Parties to disclose rebuttal experts by:

     c.       Discovery Cut-Off Date:

4.   DISPOSITIVE MOTIONS:

     Date by which all motions shall be filed and heard:

5.   ADR PLAN:

     ADR plan to be filed with the ADR coordinator by:
     The ADR Plan must indicate the form of ADR which will be utilized and the time frame
     within which it will be completed. Regardless of whether the parties choose mediation, a
     judicially-supervised settlement conference, or some other form of ADR, the Court
     strongly encourages the attorneys to schedule ADR early in the proceedings.

6.   TRIAL:

     a.       Proposed Trial Date:

     b.       Estimated Length of Trial:

     c.       Jury demanded? ______        If yes, jury demanded by which party?
